   Case 09-16957-elf                 Doc 37       Filed 12/29/09 Entered 12/29/09 09:22:12              Desc Main
                                                  Document      Page 1 of 3
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                                     IN THE UNITED STATES BANKRU.M:'cY COURT
                                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
         In re:                                                       Chaptel: 7

         CAROL A. GRONCZEWSKJ

                                Debtor                               'Bnnkruptcy No. 09~16957


                                           STIPULATION AND CONSENT ORDER

                   ·The Acting United States Trustee for Region 3, by and througb her counsel. the debtor by

        and through counsel, and the Chapter,7 trustee, Lynn E. Feldman, Esquire, desiring to enter into

        this Stipulation and Consent Order state as fol1ows:

                   Whereas debtor filed tinder ohapter 7 on September 15) 2009;

                   Whereas the Actin!! UST and chapter 7 desire to take a Rule 2004 examination of the

        debtoT.;

                   Whoreas debtor's cOlmsel is agreeabl3 to a. Rule'2004 examination being taken;

                   Whereas tbe dates for fiJln~ a mot.\on, under 11 U.S.C. §707(b)(3) and a complaint under

        11 U.S.C. §727 have been extended to March 26,2010.

                   IT IS HEREBY AGREED BY AND BETWEEN THE ACTING UNITED STATES

        TRUSTEE, CHAPTER 7 TRUSTEE AND D~BTOR THE FOLJ.OWTNG:

                   1. 1'he d~btor agrees to an examination purs~t to Bankruptcy Rule 2004) which

                             examination will be scheduled on ~e~ruary l~, 20\0, at 10:30 a.m.~ at the Office of

                             United States Trustee) 833 Chestnut, Street, Suhe 500, Pbila4e1phia, ~A;
                                                                                      .
                                                                                      "          ,




                   2. The debtor
                              .
                                 shall produce the
                                                .
                                                   documents attached to this c;onscnt Order two we~
                                                          '                               '     "  .


                             prior to the scheduled Rule 2004 ~xamination;
                     I, ••
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                                  3.    11tis Stipulation and Consent Order may be executed in Counterparts such that each

                                        part shall be considered to be an integrated onginaJ.




                                                                                         Date r   I




                               e c J.                                                    Date
                          S-.f1"n"tJ"('OSSlStant U.S. Tru:rtee
                          833 Cbestnut Street. Suit!; 500
                          Philadelphia, P A. 19107




                                                                                 Approved by the Court:



                           Dale: _ _- - - - - ­
                                                                                 ERIC L. FRANK          .
                                                                                 Unltcd States Bankruptcy Judge
   Case 09-16957-elf         Doc 37     Filed 12/29/09 Entered 12/29/09 09:22:12                   Desc Main
                                        Document      Page 3 of 3
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                                IN THE UNITED STATES BANKRuPTCY COURT
                              FOR THE EASTERN DISTRICT OF PENNSYJ',.V4N}A

           Inre:                                                   Chapter 7

           CAROL A GRONCZEWSKl

                           Debtor                                  Bankruptcy No. 09-16957


                                                     DOCUMENTS

                  1. All bank accounts in her. name or in her name and someone else's' name' pr in any
           business name in which she had any interest of any kind si.nce 2002.

                   :2. All documents .relative to the j oint venture with the Wunders.
                                                   .                            .                     ,.

                 3. All documents relative to any business ve(ltures, corporations, partnerships, she has
           had an int~rest in since 2002, including. but-not limited to I-IealthMax, Tencor. Tar~A~Mar,·l 035
           New Durham.LLC, Cbealation ..CentcI, Hopewell Valiey Tf;Up.ls. lID~..fjm~~)~~~~!!g!~.n Ave
           LLC, Back to WeJlness, Komit Associates.

                   4. 2006.2001 IIlld 2008 personal tax return9.

                   5. 2006,2007 and 2008 tax returns for aU businesses In which gh~ bas had an interest.

                  6. All HUD-I s, .~-he,r.e she was buyer or seller, for aU pro~erties personally owned by her
           or by any business in which she had a:n interest since 2002.

                 7, All deeds for any properties owned by her personally or owned by any bus-inesses in
           which she has at.I interest.

                   8. All mortgages or proof of indebtedness for     an properties owned by her persona.lly or
           owned by any businesses in which she has aJ) interest

                 9. All documents relati,n to any transfers of money or property between'debtor or any
           business in which debtor has an interest and any oth.er person or entity since 2002, jn.cluding,
           but not lu:ojted to, between debtor and Dr. Robert Peterson, betw-een debtor and either of her
           sons, bem~ debtor and MaryBeth d~aines, b~ett debtor ~q ~mety Toth, betwee9-.debtar
           and heupouse (or ex-spouse), betWee!, debtor and any Qther legal entit;'.            . "



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